          Case 1:16-cv-10653-NMG Document 39 Filed 05/11/17 Page 1 of 2



                    UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF MASSACHUSETTS
__________________________________________
EUGENE KEENAN, JR.                         )
                                           )
                        Plaintiff,         )
                                           )
v.                                         )
                                           ) CIVIL ACTION NO. 16-cv-10653-NMG
WELLS FARGO BANK, N.A. D/B/A               )
AMERICA’S SERVICING COMPANY; and           )
U.S. BANK, N.A. AS TRUSTEE FOR BAFC        )
2007-4                                     )
                                           )
                        Defendants.        )

                               STIPULATION OF DISMISSAL

        NOW COME the plaintiff Eugene Keenan, Jr. (“Plaintiff”) and Wells Fargo Bank, N.A.,

& U.S. Bank, N.A. as Trustee (“U.S. Bank”, collectively, the “Parties”), pursuant to Fed. R. Civ.

P. 41(a)(1)(ii) and hereby stipulate that this action be dismissed with prejudice, without interest,

costs or attorneys’ fees.

                                              Respectfully submitted,

                                              WELLS FARGO BANK, N.A. AND U.S. BANK, N.A.
                                              AS TRUSTEE FOR BAFC 2007-4.

                                              By their attorneys,

                                              /s/ Michael R. Stanley
                                              Morgan T. Nickerson (BBO#667290)
                                              morgan.nickerson@klgates.com
                                              Michael R. Stanley (BBO # 680957)
                                              michael.stanley@klgates.com
                                              K&L GATES LLP
                                              State Street Financial Center
                                              One Lincoln Street
                                              Boston, MA 02111
                                              T: +1 617 951 9089
                                              F: +1 617 951 3175




                                                 1
300769336 v1
          Case 1:16-cv-10653-NMG Document 39 Filed 05/11/17 Page 2 of 2




                                                Eugene Keenan, Jr.,
                                                By his attorney,

                                                /s/ Thomas B. Vawter
                                                _____________________________
                                                Thomas B. Vawter, BBO # 544321
                                                Law Offices of Thomas B. Vawter
                                                P.O. Box 215
                                                Newton, MA 02468
                                                781.400.1978 (tel.)
                                                781.400.1979 (fax)
                                                tbvawter@comcast.net


Dated: May 11, 2017


                                 CERTIFICATE OF SERVICE

        I, Thomas B. Vawter, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on this date.

Dated: May 11, 2017                                   /s/ Thomas B. Vawter




                                                  2
300769336 v1
